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IN 'rHE UNITED sTATEs DISTRICT CoURT 05 APR 2 ` "
FoR THE WESTERN DIsTRiCT oF TENNESSEE 5 PH 3= w

EASTERN DIVISION nit§.{§£a;“:, s.

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MICHAEL D. MosBY, ) 'D 9"`\!-1¥@.0 ',CT
)
Plainaff, )
)

vs. ) No. 02-1250-T/An

)
MICHAEL sTRAIN, )
)
Defendant. )

 

ORDER DENYING MOTION FOR RELIEF FROM JUDGMENT OR ORDER

 

On March 28, 2005, plaintiff Michael D. Mosby filed both a Petition for Leave to
Serve Subpoena Duces Tecum and a Motion for Reargument. The motions were an attempt
to persuade the Court to alter rulings originally made in an Order Denying Plaintift’s
Petition for Leave to Serve Subpoena Duces Tecum entered March 15, 2005. However,
neither of the March 28 motions contained a certificate of service showing that copies had
been provided to the defendant, as required by Fed. R. Civ. P. 5(a). On April 1, 2005 , the
Court denied the motions for that reason. Piaintiff has now filed a Motion for Relief from
Judgment or Order in which he states that copies of the motions Were served on the
defendant, but that certificates of service were inadvertently omitted from the documents
sent to the Court for filing.

The Court accepts plaintiff’ s explanation that the omission of the certificates of

service Was unintentional. However, consideration of the March 28 motions on the merits

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fails to persuade the Court that the rulings originally made in the March 15 order, regarding
the issuance of a subpoena duces tecum, should be modified. Accordingly, plaintiffs
motion for relief from judgment or order is DENIED.

IT IS SO ORDERED.

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JAM D. TODD
UNI ED STATES DISTRICT JUDGE

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DATE ’

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 111 in
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Honorable .l ames Todd
US DISTRICT COURT

